                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

UNITED STATES OF AMERICA                                                 )
                                                                         )
                                                                         )
v.                                                                       )          Criminal No.           3:07-cr-159-1 and
                                                                         )                                 3:16-cr-162
                                                                         )          Judge Trauger
JAMES MCWHORTER                                                          )
                                                                         )

                                                              ORDER

          The defendant has filed a Motion to Terminate Supervised Release (Docket No. 711), to

which the government has responded in opposition (Docket No.713), and the defendant has filed

a Reply (Docket No. 714).1

          The defendant has served a little more than 1 year on supervised release. Assuming that

it is true that he did not participate in misrepresenting himself to be an attorney on his law firm’s

website when he is not, he has done exceptionally well on supervised release, and the court is

very pleased that he has gotten the medical attention that he needed.

          The defendant has an extensive record of fraudulent activity and criminal convictions that

may include such activity during the several months that he was in escape status from the

halfway house. He represents that he has a stable home life, but this is his 4th marriage, so it is

difficult for the court to believe that engaging in married life will necessarily contribute to his

being a “changed man”. The court is pleased that Mr. McWhorter has found lucrative,

responsible employment with law firms, but cannot find that foreign trips to areas known as tax



          1
          The defendant did not initially file his motion in his second criminal case in this district, 3:16-cr-162.
However, the court agrees with the government that the motion should have been filed in both cases.



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shelters to assist lawyers with “asset protection” is a necessary part of that employment. Travel

within the United States has been readily approved by his probation officer, as has travel to visit

with his children. The court is impressed that the defendant has enrolled in law school in some

sort of California law school and wishes him success in that endeavor. However, the

representations he makes about the importance of being off supervision for a significant period of

time before he applies for admission to the California bar are not substantiated in the record and

are insufficient to justify termination of his supervised release at this point.

        The defendant’s motion is DENIED without prejudice to renew it after he has been on

supervised release for a full 2 years.

        It is so ORDERED.

        ENTER this 10th day of September 2018.




                                                         ________________________________
                                                         ALETA A. TRAUGER
                                                         U.S. District Judge




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